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    DAVID      R. CRAIG
   HARFORD COUNTY EXECUTIVE                                         DEPARTMENT OF HUMAN RESOURCES
                                                                                 James C. Richardson
                                                                            Director of Human Resources
  JOHN J. O'NEILL, JR.
   DIRECTOR OF ADMINISTRATION



________________H_A_R_F_O_ _
                           R _D_C_O~JM~J~~?VERNMENT




         Mr. Matthew P. Rutherford
         3203 Chrome Hill Road
         Jarrettsville, Maryland 21084

                                         Re: Investigation Concerning Hostile Work Environment

         Dear Mr. Rutherford:

                 The investigation concerning the hostile work environment was sustained by this
         office. As you are aware we did discuss this issue with the one individual that you had
         indicated was a problem, Mr. Robert Stahler. Since that discussion Mr. Stahler has
         retired from Harford County Government. The second part of this investigation dealt
         with lack of management response made by both yourself and Joseph Rutherford. It was
         found that upper level management did not accurately grasp what their obligations were
         when dealing with this issue. I have discussed this concern with the director of DPW and
         I will continue to discuss these concerns with the new director.

                In my opinion additional training or discipline should be imposed due to the lack
         of management's follow through on this issue. Since this claim is supported, you will be
         offered the right to have a representative with you whenever you meet with a supervisor
         regarding personnel issues. This was covered in the letter dated May 10, 2005.



                                                         ·~c·~
                                                            s C. Richardson, Director
                                                           artment of Human Resources
                                                                                              ~
         JCR/jde

         cc:    Leslie Rutherford
                Jerry Wheeler




                                                                      410·638·3201
                                         MY DIRECT PHONE NUMBER IS
                    220 SOUTH MAIN STREET, BEL AIR, MARYLAND 21014. www.harfordcountymd.gov
